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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
  UNITED STATES OF AMERICA,                      )
                                                 )
                       v.                        ) No. 1:22-cr-00015-APM
                                                 )
  KELLY MEGGS,                                   )
                                                 )
                  Defendant.                     )


       DEFENDANT’S REPLY TO GOVERNMENT OPPOSITION REGARDING
       ANTICIPATED TRIAL EVIDENCE RE: ZELLO COMMUNICATIONS

       Defendant Kelly Meggs, and Defendants Harrelson and Watkins, jointly by and through

the undersigned counsel, hereby files this Joint Reply Memorandum to the Government’s

submission at ECF 292, in further support of Mr. Meggs’ and co-defendants’ Joint Motion in

Limine [ECF 280], to bar the Government’s intent to introduce Zello Communications identified

by the Government, because the evidence at issue is hearsay and highly prejudicial while not

genuinely probative.

       1.      Defendant Meggs, jointly, with Defendants, Rhodes, Watkins and Harrelson,

Moved in limine to bar Anticipated Trial Evidence, specifically Zello Communications

Identified by the Government on August 28, 2022. (ECF 280).

       2.     The Government filed its Opposition on September 6, 2022, in which it argues

that “Defendant Watkins’ voice is audible on the recording of the Zello channel, discussing her

group’s approach to the Capitol, her group’s “plan,” and her observations once inside the

Capitol.”

       3.     The allegation in the government’s Opposition, for the first time, newly added,

is that “OhioRegularsActual-Oathkeepers” is Jessica Watkins profile on Zello.           In the
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government’s Stipulation sent to Defendants on the Defendants’ “monikers’ or Profile Names,

Jessica Watkins is only identified as “Jessica Watkins.” At no time prior to this filed Opposition,

has Defendant Watkins been identified with “OhioRegularsActual-Oathkeepers.” The government

further admits that not only does this Zello transcript not contain her phone number, but also that

“The FBI did not locate any relevant Zello audio files on Defendant Watkins’ phone.” (ECF 292, p.

3). Instead for the first time, the government lays out a complicated multi layered basis for now

submitting this Profile as that of Jessica Watkins.

        4.       Further, by the government’s own explanation the evidence is obtained through

public reporting and is not complete because the video containing most of the audio is not a

clear disclosure. It is not clear to the undersigned counsel, which was produced, the video or

the 2hr 22 minute long audio in support of the Opposition filed.

             On January 15, 2021, New York Public Radio’s On the Media published a
             podcast and accompanying article about the recording, titled “The Zello Tapes:
             The Walkie-Talkie ) App Used During The Insurrection.”5 The article linked to
             a “high-fidelity” recording posted on SoundCloud containing the 2-hour-and-
             22-minute long audio.          According to the SoundCloud description
             accompanying the audio file, (which in turn is from another source) “[t]his
             audio was first discovered by Micah Loewinger and Hampton Stall, who
             detailed their findings in the Guardian and on On the Media…
             On SoundCloud, the authors provided a link to YouTube7 and wrote that the
             video in the link contained “[a] partial screen capture video of this tape.” While
             Google has since removed the video for violating YouTube’s community
             guidelines, and thus it is no longer publicly accessible, the government
             preserved a copy (Government Exhibit 1073).
             The video, which is 1-hour-and-46-minutes long, contains most of the audio
             recording published to SoundCloud along with a synchronized view of the visual
             depiction of the channel’s chat log, on January 6, 2021, between 1:48 p.m. and
             5:07 p.m.
             (ECF 292, p. 4).


        5.       As of August 22, 2022, the government only disclosed to Defendants “…you

asked us to provide the true identities of three individuals who can be heard on the Zello


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recording: 1% Watchdog, General Mark Davis CFA, and iWatchDirectorLaureen. We are not

able to confirm these individuals’ true identities for you. (email correspondence of Monday,

August 22, 2022 9:51 PM from Mr. Jeffrey Nestler, emphasis added).

         6.        Now the government continues to concede that “The government does not intend

to argue that user 1%Watchdog is a named defendant. (ECF 292, p. 3, f.n. 2). Nor does the

government identify 1%Watchdog at least to these Defendants, but as the government argues, it

is 1%Watchdog’s communications, among other outsiders, that it is seeking to admit in addition

to statements it alleges were made by Ms. Watkins newly found profile. The statements made

by outsiders continue to constitute hearsay and are highly prejudicial but the government argues:

         In addition to Defendant Watkins’ own statements, several statements from
         users 1%Watchdog (the creator of the channel), FreedomD0z3r91 (Person 32,
         Watkins’ known associate), and others are relevant evidence of defendant
         Watkins’ intent, because the statements provide context to Defendant Watkins’
         own communications and/or the statements are directives to Defendant Watkins.
(ECF 292 at p.5).

         7.        First, if the government is correct about Ms. Watkins’ identity as

“OhioRegularsActual-Oathkeepers,” which we would submit is a trial issue, as it is a fact to

prove.

         8.        Specific Statements by “OhioRegularsActual-Oathkeepers” are in large part

updates on what is happening at the Capitol, as “OhioRegularsActual-Oathkeepers” states in

that transcript:

At 1:49 p.m. (1:30 on the counter): “We’re boots on the ground here. We’re moving on the

Capitol now. I’ll give you a boots-on-the-ground update here in a few. We have a good group.

We have about 30, 40 of us. We’re sticking together and sticking to the plan.”

         After user “Airborne America” said, “We’ll see you soon, Jess,” she responded

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       “Roger that, brother. Godspeed and fair winds to us.”
       • At 1:58 p.m. (4:01 on the counter): “It has spread like wildfire that Pence has
       betrayed us and everybody’s marching on the Capitol. All million of us. It’s
       insane. We are about two blocks away from it now, and police are doing nothing.
       They’re not even trying to stop us at this point.”
       • At 1:59 p.m. (5:09 on the counter): “Trump’s been trying to drain the swamp
       with a straw. We just brought a Shop-Vac.”
       • At 2:00 p.m. (5:25 on the counter): “Y’all, we’re one block away from the
       Capitol now. I am probably going to go silent once I get there because I am
       going to be a little busy.”
       • At 2:31 p.m. (18:30 on counter): “We are on the rear mezzanine, behind the
       dome. I’ll send a picture here in a bit. There is reports that Antifa was the ones
       who busted out the windows. It was not actual patriots. The police confronted
       them when they were smashing out the windows. They said, Fuck Trump; we
       don’t care about this. And they’re just out there smashing windows. So, I feel
       like it’s kind of a setup, really. They have the riot cops out now.”
       • At 2:44 p.m. (27:19 on the counter): “We are in the mezzanine. We are in the
       main dome right now. We are rocking it. They are throwing grenades, they are
       fricking shooting people with paint balls. But we are in here.”
(ECF 292, p.5).


       9.     It is the responses from these others who are not identified as Co-Conspirators

that remains as hearsay and are prejudicial, highlighted by curse words and inflammatory

rhetoric used primarily by 1% Watchdog.

       10.    For example, the government also argues that ‘"Watkins' communications with

user "FreedomD0z3r91" are particularly relevant, due to their connection to each other. The

true identity of FreedomD0z3r91 is Person 32, an unindicted coconspirator. While Person 32's

changeable display name on January 6, 2021, was FreedomD0z3r91, his immutable username

was kamden11414.’ (ECF 292 at p. 9). This is a confusing argument because the potential

relationship between Jessica Watkins and Person 32, is not at issue in this Zello Recording.

Neither User name for Person 32 appears in the Zello Recording with the Transcript. Instead, it

seems the government argues that the relationship corroborates the statements that Watkins



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allegedly made with a general reference to "training" because they have trained together 1. As

anyone who goes to the gym knows, training is a broadly used word. But shows that the intent

is to use the communications for the truth of the matter, so the question becomes whether they

are otherwise admissible.

       11.     As an initial matter, the government recognizes it cannot show that Ms. Watkins,

assumed to be Ms. Watkins, was listening to the chat: ‘And she was logged into the Zello app

as of around 1:00 p.m. on January 6, 2021, meaning that Watkins was likely listening to the

“Stop the Steal J6” channel even before the moderator “opened” the channel at 1:48 p.m., as

Watkins was on her way—with several of her coconspirators—from the Ellipse to the Capitol.’

(ECF 292 p. 7). This is a dubious assertion. 2

       12.     The government further explains in footnote 11:

          According to a representative, Zello tracks a user’s logging into (but not out of)
          the app. The Zello records show that on January 6, 2021, Watkins logged into
          the app at 5:33 a.m., 12:58 p.m., 12:59 p.m., 1:01 p.m., and 5:43 p.m. The three
          successive midday logins suggest network congestion, as Watkins was at the
          Ellipse. But the lack of a login between 1:01 p.m. and 2:44 p.m. (when she was
          in the Rotunda speaking to the “Stop the Steal J6” channel) means that Watkins
          had not logged out of the app during this critical time period.
(ECF 292 at p. 7, f.n. 11).


       13.     The entire argument relies on an assumption that Watkins (assuming its Watkins)

was listening to statements by outsiders while at the Rotunda, that the communication was

constant and that she paid attention, and in turn, that she accepted those comments as her belief


1
  It should be noted that Watkins was extensively trained in field medicine and first aid and
carried a heavy back pack, not containing weapons, but stuffed with emergency medical
supplies.
2
  It has been extensively reported that there was little or no phone coverage in and around the
ellipse and the Capitol. https://www.pcmag.com/opinions/why-cell-networks-cut-out-at-the-us-
capitol-riot

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or adopted them, for it to relate to her intent. This is where the government conflates the

arguments, assuming her identity is provable as the government now contends, then hose

portions that are self-inculpatory statements would come in.

       14.     The distinction lies with the overbroad application of “self-inculpatory” to all the

statements alleged to be adopted by Ms. Watkins, and in addition to the commentary under the

argument that listening goes to her state of mind; from the other listeners on a public channel

when we know that “the moderator “opened” the channel at 1:48 p.m.” (ECF 292 at p. 7). And

the government explained that “[t]he article stated that the authors (Micah Loewinger and

Hampton Stall) had reviewed audio and chat logs from a “public” Zello channel called “Stop

the Steal J6.” (ECF 292 at p. 3). In other words, this Zello communication is a public channel

open to anyone and full of commentary the government wants to attribute in whole to Ms.

Watkins.

       15.     As the government in its filing, acknowledged, “[a] statement may be admitted

under Rule 804(b)(3)'s hearsay exception for statements against interest if a reasonable person

in the declarant’s shoes would perceive the statement as detrimental to her own penal interest.

See Williamson v. United States, 512 U.S. 594, 599-603 (1994) (holding that a court may admit

those portions of a declarant’s statement under this rule if those statements are truly self-

inculpatory). Accordingly, if the fact finding is made as to Ms. Watkins’ identity and if the court

were to deem statements cited herein on page 3-4, allegedly by Ms. Watkins are deemed self-

inculpatory, then that the court may admit those portions of the declarant’s statement. That,

however, is not similarly applicable to the commentary otherwise on this public chat by persons

who are not co-conspirators and in large part remain unidentified.

       16.     Instead, the government submits,


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           Some of the statements of the other individuals on Government Exhibit 1073.1
          are admissible against all five defendants because Watkins manifested an intent
          to adopt them. See Fed. R. Evid. 801(d)(2)(B).
          The remainder of the other declarants’ statements are admissible against
          Watkins (but not the other defendants) because the statements are non-hearsay
          being admitted for their effect on the listener (Watkins), rather than for the truth
          of the matter asserted. See Fed. R. Evid. 801(c)(2) (defining hearsay as a
          statement “a party offers in evidence to prove the truth of the matter asserted in
          the statement”).
          For those statements admitted only for their effect on Watkins and/or only
          against Watkins, the government is amenable to a limiting instruction pursuant
          to Federal Rule of Evidence 105.
(ECF 292 at p.16).


       17.     The government, recognizes that, ‘[f]or a defendant to adopt the statement of

another, such that the statement is admissible against the defendant, the defendant “must have

understood and unambiguously assented to [the statement], but his understanding and assent

may be established through conduct as well as through words.” United States v. Beckham, 968

F.2d 47, 52 (D.C. Cir. 1992) (alterations, quotation marks, and citations omitted). The defendant

must have “manifested an adoption or belief in its truth.” Id. (quoting Fed. R. Evid.

801(d)(2)(B)).’ A “yeah…” is not a necessarily a full manifestation or adoption in the truth of

the commentary, it depends on the context, because if she responds with what she is saying

rather than a reaffirmation of what is said above, it is not a full manifestation. Where it says

“Roger that,” yes that would reflect acceptance of the full statement preceding it. Moreover, the

argument fails to support the remainder of the statements, where the government argues that

“The remainder of the other declarants’ statements are admissible against Watkins (but not the

other defendants) because the statements are non-hearsay being admitted for their effect on the

listener (Watkins), rather than for the truth of the matter asserted. See Fed. R. Evid. 801(c)(2)

(defining hearsay as a statement “a party offers in evidence to prove the truth of the matter

asserted in the statement”).

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       18.     As undersigned counsel argued, this District Court clearly explained what

constitutes hearsay within hearsay when there is no statement from the declarant as to fact

remembered or believed.

          “At first glance, such evidence of belief might be properly admissible pursuant
          to Rule 803(3), which permits introduction of hearsay evidence demonstrating
          the declarant's then-existing mental condition. Fed. R. Evid. 803(3)1. However,
          as the entire purpose of Mr. Richards' line of testimony is to As a result, the
          Court concludes that the email consists primarily of hearsay within hearsay for
          which Plaintiffs have not offered an applicable exception.
          New York v. Microsoft Corp., 2002 U.S. Dist. LEXIS 7683, *12-13, *18 (D.D.C.
          2002). The ultimate purpose for which Pinnacle Systems' belief is being offered,
          is to establish the truth of that belief. As a result, Rule 803(3) does not render
          the statement admissible. See Fed. R. Evid. 803(3) advisory committee's note
          ("The exclusion of 'statements of memory or belief to prove the fact remembered
          or believed' is necessary to avoid the virtual destruction of the hearsay rule which
          would otherwise result from allowing state of mind, provable by a hearsay
          statement, to serve as the basis for an inference of the happening of the event
          which produced the state of mind.").


 New York v. Microsoft Corp., 2002 U.S. Dist. LEXIS 7683, *12-13, *18 (D.D.C. 2002).

       19.     Rather than strictly focusing on those portions of the transcript in which Ms.

Watkins alleged statements are adopted and focusing on the portions of those statements that

are self-inculpatory, the government goes much further in seeking to have whole public open

chat admitted to establish the truth of that belief, which is the very definition of hearsay, all

argued to be based on a theory that she was listening. The government’s argument would lead

to abolishment of the hearsay rule.

       20.     The government argues, “Some of the other declarants’ statements are admissible

only against Watkins (rather than all defendants), as they provide context for Watkins’ own

statements and/or elucidate her state of mind. See United States v. Williams, 358 F.3d 956, 963

(D.C. Cir. 2004) (statement is admissible to “elucidat[e] . . . a listener’s state of mind”). (ECF

292 at 18). But in that case, the court made clear that, “[a]s with all evidence, such a statement,
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when offered for a permissible non-hearsay purpose, must be relevant to a "fact … of

consequence" in the case. FED. R. EVID. 401; see also Sesay, 313 F.3d at 599-600; United

States v. Evans, 342 U.S. App. D.C. 189, 216 F.3d 80, 87 (D.C. Cir. 2000) cert. denied, 531 U.S.

971, 148 L. Ed. 2d 317, 121 S. Ct. 411 (2000). Moreover, such a statement may be excluded,

even if relevant, if its probative value is substantially outweighed by the danger of unfair

prejudice. Id. at 963-964 (citing FED. R. EVID. 403; see also U.S. v. Evans, 216 F.3d at 87-89).

       21.     The Court in Williams further explained, “The Evans court rejected the argument

that the testimony could be admitted to provide "background" information, because whatever

minimal value the testimony had for that purpose was outweighed by the danger that the jury

would consider the evidence for its hearsay purpose. See id. at 87-89; see also Sesay, 313 F.3d

at 599 (excluding testimony regarding an out-of-court statement because its only relevance was

for its truth and because any value it may have had as background was substantially outweighed

by the danger of prejudice). Id. at 964.

        22.    The government next cites United States v. Stover, 329 F.3d 859, 870 (D.C.

 2003), in further support of its argument that the outsiders’ running commentary on this public

 channel can be admitted under an effect on the state of mind of the listener, Jessica Watkins,

 but in Stover, the court explained that “[a]s to using the recordings to establish context, the

 Government seems to be saying that all out-of-court statements offered for context do not

 constitute hearsay. However, that a statement provides context to other evidence does not mean

 that the statement is not hearsay. All relevant evidence provides context to the events

 underlying the charged crime. See United States v. Bowie, 344 U.S. App. D.C. 34, 232 F.3d

 923, 928-29 (D.C. Cir. 2000). The question is whether the statement is offered for its truth.”

 The court found the recording statement as inadmissible hearsay where it went to the truth of


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 the issue before the court, finding that ‘the jury, using the statement, could infer that the

 defendant and his co-conspirators referred to “drugs as clothes” only from the fact that

 Defendant and his co-Conspirator referred to drugs as clothes - that is, through the statement's

 content.’ Cf. United States v. Sesay, 354 U.S. App. D.C. 141, 313 F.3d 591, 599-600 (D.C. Cir.

 2002). ‘The statement thus was hearsay, and its admission was erroneous.’ United States v.

 Stover, 329 F.3d 859, 870 (D.C. 2003) (citing See FED. R. EVID. 802, FED. R. EVID. 801(c);

 United States v. Jordan, 258 U.S. App. D.C. 143, 810 F.2d 262, 264 (D.C. Cir. 1987).

       23.       However the government’s argument that Defendant Watkins “adoption” of any

these statements are in turn admissible against her alleged co-conspirators is predicated on the

following:

             “For hearsay purposes, an adopted statement pursuant to Rule 801(d)(2)(B)
             functions as if the declarant uttered the statement herself. See Poole v. Perini,
             659 F.2d 730, 733 (6th Cir. 1981) (“[T]he words of the hearsay become the
             words of the defendant. If the defendant accepts the out-of-court statement as
             his own, cross-examination of the declarant of the hearsay becomes unnecessary
             and irrelevant. The out-of-court statement is no more damaging than the
             defendant’s own.”). Therefore, [the government argues] the other declarants’
             statements that Watkins adopted on the Zello recording are admissible against
             the other defendants so long as they fall within at least one of the other hearsay
             exceptions described above (e.g., preset-sense impression, statement of future
             intent, statement against interest, and/or statement in furtherance of the
             conspiracy).”
(ECF 292 at p. 17).

       But the Court of Appeals in that case did not take an adoptive admission to be used

against co-conspirators, and that is a jump without predicate. See Id. Instead, the Sixth Circuit

explained that, “A defendant cannot adopt an out-of-court statement as his own without some

affirmative action on his part. Merely remaining silent while confessions of others are made is

not enough to adopt the others' as his own. See Glinsey v. Parker, 491 F.2d 337, 342 (6th Cir.),

cert. denied, 417 U.S. 921, 94 S. Ct. 2630, 41 L. Ed. 2d 227 (1974). Similarly, if the defendant


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had never heard the statements of the others, he could not have adopted them. Id. at 733.

        24.     Further, under the argument, Other Declarants Statements, the government

contradicts its earlier statement that cites one case from the 10th Circuit to say that “Indeed,

because Watkins often adopted the others’ statements in furtherance of the conspiracy, the others’

statements are admissible against both Watkins and the other coconspirators. The government is

again bootstrapping because the case it cites for this proposition, United States v. Wolf, 839 F.2d

1387, 1395 (10th Cir. 1988), which the government argues cites in support of its argument that “a

non-conspirator declarant made a statement to coconspirator A, which A adopted by A’s actions.”

(ECF 292 at p. 18). United States v. Wolf, however, addressed a statement made by a witness at

trial speaking about the behavior of the mother in a case of child neglect and conspiracy to commit

murder with the father, and the mother’s actions described by a witness on the stand were viewed as

part of the conspiracy. Id. Moreover, in that case, the court found that the statement, “She said Roy

[the husband] hit [the child] in the stomach… inadmissible against Roy under the coconspirator

exception because it is a mere narrative and does not further the conspiratorial objectives of abusing

the child or covering-up the abuse.” Id. (citing United States v. Posner, 764 F.2d at 1538).

         25.    Similarly much of the commentary on the Zello chat is a mere narrative.

        26.     Further, Defendants submit that the statements not expressly adopted by Ms.

Watkins, and not self-inculpatory; the remaining statements on the recording, all the running

commentary, are asserted for the truth of the matter therein… as argued by the government:

         Notably, 1%Watchdog told Watkins and others to perform a “citizen’s arrest” of

         congresspeople for “treason.” He also told Watkins and others that, even though rioters

         had made it “in the front door” of the Capitol building, the House of Representatives

         was continuing its session. The implication of this statement was that someone


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        (Watkins) needed to do something (like physically detaining congresspeople) to

        actually stop the House from proceeding any further.

        At 2:17 p.m. and 2:18 p.m., 1%Watchdog told the channel about Vice President Pence’s

        and Speaker Nancy Pelosi’s movements:




        Another user then told the “boots on the ground” to find out which tunnels the

        protectees were using for their escape and “block them”:




        A minute later, at 2:19 p.m., user FreedomD0z3r91 (Person 32) reported to the channel

        that rioters had breached the Capitol building and were “fighting the police” inside. He

        asked someone (presumably Watkins) to “confirm” what was occurring inside the

        Capitol:…

        (ECF 292, at p. 27)

       These statements are all those of outsider’s statements, offered for the truth of the matter.

Further evidence of the fact that these are hearsay statements by outsiders, without any adoption

from Ms. Watkins, are asserted for the truth of the matter stated, the government argues:

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         “During this time, according to surveillance video, Defendant Watkins and certain

        other members of the conspiracy, including notably Kelly Meggs and Kenneth

        Harrelson, entered the Capitol building and penetrated into the Rotunda.” (ECF 292 at

        p. 32).




(ECF 292 at p. 32).

The filing is replete with examples of how the government intends to use the statements to prove

the truth of the matter therein. The jury, using these statements, could infer that the defendant

Watkins and her alleged co-conspirators “intended to overthrow the Capitol” only from the

statements from these outsiders. United States v. Stover, 329 F.3d 859, 870 (D.C. 2003) (citing

See FED. R. EVID. 802, FED. R. EVID. 801(c); United States v. Jordan, 258 U.S. App. D.C.

143, 810 F.2d 262, 264 (D.C. Cir. 1987). Moreover, the probative value of statements,



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everything outside of one “Roger that” as fully adopted are substantially outweighed by the

danger of unfair prejudice. Id. at 963-964 (citing FED. R. EVID. 403; see also U.S. v. Evans,

216 F.3d at 87-89).

        WHEREFORE, Defendant Kelly Meggs respectfully reframes the relief requested based

on the new facts set forth and disclosed for the first time in the government’s opposition, that the

Court grant this Motion in Limine to 1) limit the admission of statements to self-inculpatory

statements by Ms. Watkins, if her identity is proven; 2) bar any outsider statements not expressly

adopted by Ms. Watkins as hearsay; 3) issue a limiting jury instruction as to any statement

deemed adopted by Ms. Watkins, (unless the government has specific evidence that she

communicated those statements to her co-conspirators).

Dated: September 9, 2022                      Respectfully submitted,


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                                Certificate of Electronic Service


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I hereby certify that on September 9, 2022, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF System, with consequent service on all parties of record.


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